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UN|TED STATES D|STR|CT COURT
IV||DDLE District of F|orida

Case Number: 6:18-CV-037-ORL-28-KRS
Plaintiff:

TAV|A WAGNER

vs.

Defendantt

GATOR R|VERWOOD, LLC, PNC BANK NA, ETC., ET AL

For:

JOE M QU|CK, P.A., LAW OFF|CES
1224 S PENlNSULA DR

#316

DAYTONA BEACH` FL 32118

Received by B|LL ROSE on the 11th day of January. 2018 at 10:22 am to be served on DAWN CHEN DIBIA SUPER WOK,
4031 S NOVA ROAD, SU|TE A, PORT ORANGE, FL 32127.

|, B|LL ROSE, being duly sworn, depose and say that on the 11th day of January, 2018 at 4:30 pm, |:

served an AUTHOR|ZED entity by delivering a true copy of the SUMMONS lN A C|VlL ACT|ON AND COMPLA|NT with the
date and hour of service endorsed thereon by me, to: M|CHELLE WONG as PERSON lN CHARGE at the address of: 4031 S
NOVA ROAD, SU|TE A, PORT ORANGE, FL 32127, who stated they are authorized to accept service for DAWN CHEN
DIB!A SUPER WOK, and informed said person of the contents therein, in compliance with state statutes

Description of Person Served: Age: 45, Sex; F, Race/Skin Co|or.' AS|AN, Height: 5'6", Weight: 140l Hair: DARK, Glasses: N
l certify that | am over the age of 18, have no interest in the above action, and am a Process Server, in good standing, in the

judicial circuit in which the process was served. Under penalty of perjury, l declare that l have read the foregoing return of
service and that the facts in it are true. Notary not required pursuant to F.S. 92.525(2)

State of F|orida A'¢/_£ iad 5

" B|LL ROSE
CCU"W Of - Process Server
Subscribed and sworn to be ore me on the 12th day of

January, 2018 by the affiant who is personally known to
me.

 

 

Notary Pub|ic ` _
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(386) 624-6943

Oul’ JOb Serial Nurnber: lV|JG-2018000299

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